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         Information associated with the e-mail
         accounts listed in Attachment A (Subject
         Accounts) that are stored at premises owned,        &DVH1R 21-sw-156-NRN
         maintained, controlled, or operated by Google
         LLC (“GOOGLE”), a company headquartered
         at 1600 Amphitheatre Parkway, Mountain
         View, CA 94043.
                                      APPLICATION FOR A SEARCH WARRANT
          ,DPDIHGHUDOODZHQIRUFHPHQWRIILFHURUDQDWWRUQH\IRUWKHJRYHUQPHQWUHTXHVWDVHDUFKZDUUDQWDQGVWDWHXQGHU
SHQDOW\RISHUMXU\WKDW,KDYHUHDVRQWREHOLHYHWKDWRQWKHIROORZLQJSHUVRQRUSURSHUW\(identifythe personordescribethe
propertytobe searched and give its location):
  See Attachment A attached hereto and hereby incorporated by reference.
ORFDWHGLQWKH                      'LVWULFWRI           Colorado                              WKHUHLVQRZFRQFHDOHG(identify the
person or describe the property to be seized)

 See Attachment B attached hereto and hereby incorporated by reference.

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            Code Section                                             Offense Description
           18 U.S.C. § 287 (False Claims); 18 U.S.C. § 371 (Conspiracy); 18 U.S.C. § 1031 (Major Fraud Against
           the United States); 18 U.S.C. § 1040 (Fraud in Connection with Emergency); 18 U.S.C. § 1343 (Wire
           Fraud); 18 U.S.C. § 1349 (Conspiracy to Commit Wire Fraud); 18 U.S.C. § 1956(h) (Conspiracy to
           Commit Money Laundering); 18 U.S.C. § 1957 (Money Laundering Spending Statute)
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              See Affidavit attached hereto and hereby incorporated by reference.
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                                                                                              s/ Jared Erwin
                                                                                               Applicant’s signature

                                                                         Jared Erwin, Special Agent IRS Criminal Investigation
                                                                                               Printed name and title

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                                                                                               Printed name and title
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                                   ATTACHMENT A

                                Property to be Searched

       Information associated with the e-mail account known as russell.foreman@gmail.com
(hereinafter and in Attachment B “SUBJECT ACCOUNT”), which is stored at premises owned,
maintained, controlled, or operated by Google LLC (hereinafter and in Attachment B
“PROVIDER”), a company headquartered at 1600 Amphitheatre Parkway, Mountain View, CA
94043.
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                                       ATTACHMENT B

                                 Particular Things to be Seized

I. Information to be disclosed by Google LLC (“the PROVIDER”)

        To the extent that the information described in Attachment A is within the possession,
custody, or control of Google LLC, regardless of whether such information is located within or
outside of the United States, including any emails, messages, records, files, logs, or information
that have been deleted but are still available to Google LLC, or have been preserved pursuant to
a request made under 18 U.S.C. § 2703(f) on November 3, 2020 and February 1, 2020, Google
LLC is required to disclose the following information to the government, in unencrypted form
whenever available, for each account or identifier listed in Attachment A:

   a. The contents of all emails associated with the account from February 1, 2019 to February
      16, 2021, including stored or preserved copies of emails sent to and from the account,
      draft emails, the source and destination addresses associated with each email, the date and
      time at which each email was sent, and the size and length of each email;
   b. All records regarding identification of the account, including names, addresses, telephone
      numbers, alternative e-mail addresses provided during registration, means and source of
      payment (including any credit card or bank account number), records of session times and
      durations (including IP addresses, cookies, device information, and other identifiers
      linked to those sessions), records of account registration (including the IP address,
      cookies, device information, and other identifiers linked to account registration), length of
      service and types of services utilized, account status, methods of connecting, and server
      log files;
   c. The types of service utilized;
   d. All records or other information stored by an individual using the account, including
      address books, contact and buddy lists, calendar data, pictures, and files;
   e. All telephone numbers ever associated with the account, including phone numbers used
      for account recovery or two-factor authentication;
    f. All payment information (for all services used by the account), including dates and times
       of payments and means and source of payment (including any credit or bank account
       number);
   g. All device or user identifiers which have ever been linked to the account, including but
      not limited to all cookies and similar technologies, unique application numbers, hardware
      models, operating system versions, device serial numbers, Global Unique Identifiers
      (“GUID”), mobile network information, telephone numbers, Media Access Control
      (“MAC”) addresses, and International Mobile Equipment Identities (“IMEI”);
   h. Device information, including hardware model, operating system version, unique device
      identifiers, and mobile network information including phone number for any device ever
      associated with the account;
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   i. Basic subscriber records and login history (including, as described in 18 U.S.C. §
      2703(c)(2), names, addresses, records of session times and durations, length of service
      and types of service utilized, instrument numbers or other subscriber numbers or
      identities, and payment information) concerning any Google account (including both
      current and historical accounts) ever linked to the account by a common e-mail address
      (such as a common recovery e-mail address), or a common telephone number, means of
      payment (e.g., credit card number), registration or login IP addresses (during one-week
      period), registration or login cookies (e.g. a “B” cookie) or similar technologies, or any
      other unique device or user identifier; and
   j. All records pertaining to communications between the Provider and any person regarding
      the account, including contacts with support services and records of actions taken.
   The PROVIDER is hereby ordered to disclose the above information to the government
within 14 calendar days of issuance of this warrant.


II. Information to be seized by the Government

       All information described above in Section I that constitute fruits, evidence and/or
instrumentalities of violations of 18 United States Code §§ 287, 371, 1031, 1040, 1343, 1349,
1956(h) and 1957 (the “Target Offenses”) occurring on or after March 1, 2020, including, for
each account or identifier listed on Attachment A, information pertaining to the following
matters:

   a. Information that constitutes evidence concerning persons who either (i) collaborated,
      conspired, or assisted (knowingly or unknowingly) the commission of the criminal
      activity under investigation; or (ii) communicated with the account about matters relating
      to the criminal activity under investigation, including records that help reveal their
      identity or whereabouts;
   b. The identity of the person(s) who created or used the email address, including records
      that help reveal the whereabouts of such person(s);
   c. Evidence indicating how and when the account was accessed or used, to determine the
      chronological and geographic context of account access, use and events relating to the
      Target Offenses and the account subscriber;
   d. Information about the use and transfer of items of monetary value related to the Target
      Offenses, such as bank accounts, access of those bank accounts through applications and
      wire or automated clearinghouse (ACH) transfers;
   e. Evidence identifying any co-conspirators or aiders and abettors who communicated with
      the account about matters relating to the Target Offenses, including records that help
      reveal their whereabouts;
   f. Information that constitutes evidence indicating the account user’s state of mind, e.g.,
      intent, absence of mistake, or evidence indicating preparation or planning, related to the
      criminal activity under investigation;
   g. Preparatory steps taken in furtherance of the violations of the Target Offenses;
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   h. Attempts to violate the Target Offenses;
   i. Other email accounts, remote computing storage locations, physical storage locations,
      and/or physical computers created, used or maintained by anyone participating in the
      activity described in the Affidavit; and
   j. All other information relating to the allegations in the Affidavit, the offenses described in
      the Affidavit, and any issues relevant to the allegations and offenses described in the
      Affidavit, including but not limited to proof of motive, opportunity, intent, preparation,
      plan, knowledge, identity, absence of mistake, or lack of accident with respect to the
      conduct under investigation; all other information relating to the identification and
      location of additional evidence relating to any of the foregoing matters described in this
      attachment; and all other information relating to the use, location, ownership, transfer,
      and/or disposition of evidence, funds, or other assets.

III. ORDER OF NON-DISCLOSURE AND TO KEEP ACCOUNT ACTIVE

       Pursuant to 18 U.S.C. §§ 2703(b)(1)(A) and 2705(b), the Court orders Google LLC not to
disclose the existence of this search warrant to any person for a period of one year, including the
subscriber, other than its personnel essential for compliance with the execution of this warrant.

        The Court further orders Google LLC to continue to maintain the SUBJECT ACCOUNT
in an open and active status so as not to disrupt this ongoing investigation.

IV. PROVIDER PROCEDURES

        Google LLC shall deliver the information set forth above within calendar 14 days of the
service of this warrant and Google LLC shall send the information via facsimile or United States
mail, and where maintained in electronic form, on CD-ROM or an equivalent electronic medium,
to:

       Special Agent Jared Erwin
       IRS Criminal Investigation
       1999 Broadway, 24th Floor
       Denver, CO 80202

       Pursuant to 2703(g), the presence of an agent is not required for service or execution of
this warrant.

        If the government identifies seized communications to/from an attorney, the investigative
team will discontinue review until a filter team of one or more government attorneys and other
government personnel, as needed, is established. The filter team will have no previous or future
involvement in the investigation of this matter. The filter team will identify and segregate
communications to/from attorneys, which may or may not be subject to attorney-client privilege.
At no time will the filter team advise the investigative team of the substance of any of the
communications to/from attorneys. The filter team then will provide all communications that do
not involve an attorney to the investigative team, and the investigative team may resume its
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review. If the filter team believes that any of the communications to/from attorneys are not
actually privileged (e.g., the communication includes a third party), and if the investigation is not
covert, the filter team will first seek to obtain agreement from the appropriate defense counsel
before providing these attorney communications to the investigative team. If consulting with
defense counsel is not possible or does not produce an agreement, the filter team will obtain a
court order before providing these attorney communications to the investigative team.
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                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

       I, Jared Erwin, being duly sworn, hereby depose and state that the following is true to the

best of my information, knowledge, and belief:

                     INTRODUCTION AND AGENT BACKGROUND

       1.      I am a Special Agent (SA) employed by the Internal Revenue Service – Criminal

Investigation in Denver, Colorado, and has been so employed for the past 12 years. During this

time, I have been involved with investigations of individuals and businesses involving criminal

tax violations of Title 26 of the Internal Revenue Code, and criminal violations of Title 18 U.S.C.

§§ 1956 and 1957 (money laundering), as well as, investigations involving other criminal

violations under Title 18 of the United States Code.

       2.      I make this affidavit in support of an application for a search warrant for

information associated with certain accounts (“Subject Accounts”) that is stored at premises

controlled by Google LLC, which is a provider of wire and electronic communication services

headquartered at 1600 Amphitheatre Parkway, Mountain View, CA 94043 (“PROVIDER”). The

information to be searched is described in the following paragraphs and as to the Subject Accounts

listed on Attachment A. This application is made under 18 U.S.C. §§ 2703(a), 2703(b)(1)(A),

and 2703(c)(1)(A), to require PROVIDER to disclose to the government copies of the information

(including the content of communications) further described in Section I of Attachment B. Upon

receipt of the information described in Section I of Attachment B, government-authorized persons

will review that information to locate the items described in Section II of Attachment B.

       3.      The facts set forth in this affidavit are based on my own personal knowledge;

knowledge obtained from other individuals during my participation in this investigation, including

other law enforcement officers; my review of documents related to this investigation;

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communication with others who have personal knowledge of the events and circumstances

described herein; and information gained through my training and experience. I believe the

information that I have set forth herein to be reliable based upon my investigation to date.

       4.      Because this affidavit is submitted for the limited purpose of establishing probable

cause in support of the application for a search warrant, it does not set forth each and every fact

that I or others have learned during the course of this investigation.

       5.      Based on my training and experience and the facts set forth in this affidavit, there

is probable cause to believe that violations of Title 18 U.S.C. § 287 (False Claims); 18 U.S.C. §

371 (Conspiracy); Title 18 U.S.C. § 1031 (Major Fraud Against the United States); Title 18 U.S.C.

§ 1040 (Fraud in Connection with Emergency); Title 18 U.S.C. § 1343 (Wire Fraud); Title 18

U.S.C. § 1349 (Conspiracy to Commit Wire Fraud); Title 18 U.S.C. § 1956(h) (Conspiracy to

Commit Money Laundering); and Title 18 U.S.C. § 1957 (Money Laundering Spending Statute)

(“Subject Offenses”), have been committed by Russell Foreman (Foreman), Melissa Irish (Irish),

and Chandler Simbeck (Simbeck). There is also probable cause to search the information

described in Attachment A for evidence, instrumentalities, contraband and/or fruits of these crimes

as further described in Attachment B.

                                         JURISDICTION

       6.      This Court has jurisdiction to issue the requested warrant because it is “a court of

competent jurisdiction” as defined by 18 U.S.C. § 2711, 18 U.S.C. §§ 2703(a), (b)(1)(A), &

(c)(1)(A). Specifically, the Court is “a district court of the United States that has jurisdiction

over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i). As described further below,

this search warrant is sought in connection with alleged fraudulent loans obtained from the Small

Business Administration (“SBA”), under a program designed to provide economic stimulus in



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response to economic fallout that followed the COVID-19 pandemic, namely the COVID-19

Economic Impact Disaster Loan (“EIDL”) program. Loans approved by the SBA under the

COVID-19 EIDL program are facilitated by wire transmissions that originate with the SBA

Finance Center in Denver, Colorado, with servers located in Denver, Colorado. After COVID-

19 EIDL loans were approved, the SBA in Denver created payment files, which were then

transmitted via interstate wire, ultimately resulting in payment of allegedly fraudulently obtained

loans into the recipient’s designated bank account. As such, jurisdiction for the alleged wire

fraud and conspiracy to commit wire fraud is in Colorado.


                        FACTS SUPPORTING PROBABLE CAUSE



                Overview of the Economic Injury Disaster Loans & PPP Loans

       7.      On March 27, 2020, President Trump signed into law the Coronavirus Aid, Relief,

and Economic Security (CARES) Act, which provided emergency assistance to small business

owners, including agricultural businesses, and nonprofit organizations in all the U.S. states,

Washington D.C., and territories affected by the Coronavirus (COVID-19) pandemic through the

SBA. The two sources of funding for small businesses were the Paycheck Protection Program

(PPP) and the COVID-19 EIDL program.

       8.      The provisions of The CARES Act, in conjunction with an officially declared

disaster by the United States Government, allowed for the SBA to offer EIDL funding to business

owners negatively affected by the COVID-19 pandemic. Small businesses could receive an

advance of funds up to $10,000 and loans of up to $150,000 per entity with a maximum of $2

million including affiliates, with the possible maximum loan amounts changing over time. Using




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 the SBA online portal, EIDL applicants input personal and business information with each EIDL

 application, with minimal to no supporting documentation required.

         9.     The application includes a jurat-like paragraph where the applicant affirms that the

 information submitted is true and correct under the penalty of perjury and applicable criminal

 statutes. The application process involves filling out assorted data fields relating to the size of the

 affected business entity, the ownership of said business, and other information such as the number

 of employees and gross business revenues realized in the 12 months prior to COVID-19 impact on

 the national economy. This information, submitted by the applicant, is then used by SBA systems

 to calculate the principle amount of money the small business is eligible to receive in the form of

 an EIDL. However, in conjunction with the submission of an EIDL application, by simply clicking

 on and checking a box within the on-line application, an applicant may request and then receive

 up to $10,000 in an EIDL Cash Advance Grant based on the number of employees claimed. The

 EIDL Cash Advance Grant need not be repaid to the SBA if the loan application is ultimately

 denied by the SBA, or if the applicant declines the EIDL that may be offered by the SBA at a later

 date.

         10.    For most of the applications, the EIDL is based on the Gross Revenues and Cost of

 Goods Sold for the 12 months prior to January 31, 2020. The basic loan amount calculation is to

 cover six months of Gross Profit (Gross Revenues minus Cost of Goods Sold). Example: If Gross

 Revenues are reported as $100,000 and Cost of Goods Sold as $50,000, the Gross Profit for the

 year would be $50,000 and half of that would be the loan amount ($100,000 - $50,000 = $50,000

 divide by 2 = the loan amount of $25,000). Currently the maximum loan amount for the EIDL is

 $150,000 per entity with a maximum $2 million including affiliates.




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        11.     Pursuant to the provisions governing the EIDL program, loan proceeds must be

 used by that business on certain permissible expenses. The EIDL (working capital) loans may be

 used by the afflicted business, which must have existed in an operational condition on February 1,

 2020, to pay fixed debts, payroll, accounts payable, and other bills that could have been paid had

 the COVID-19 disaster not occurred.

        12.     In addition to the EIDL program, The CARES Act authorized up to $349 billion

 dollars in loans to small businesses for job retention and certain other expenses; known as the

 Paycheck Protection Program (PPP). Unlike the EIDL program, applicants apply via lending

 institutions who serve as the underwriters of the PPP. It is possible that much or all of the

 amounts borrowed can be forgiven under the program. The covered period of the program was

 February 15, 2020 thru June 30, 2020. Eligible borrowers consist of businesses, non-profits,

 tribal businesses and veterans organizations with not more than 500 employees during the

 covered period (or if greater, the size standard established by the Administration for the

 industry). Payroll costs include, salary, wages, vacation, parental, family medical or sick leave,

 group health insurance, retirement benefits, state and local payroll tax or income of a sole

 proprietor that is a wage, income or net earnings from self-employment that is not more than

 $100,000 in one year as prorated for the covered period. The amount of the loan is based on the

 applicant’s representations concerning the amount of salary being paid to employees. Once the

 loan proceeds are issued, the loan will be fully forgivable if the applicant demonstrates that a

 specified share of the loan proceeds was spent on the payment of employee salaries.

                                        Indicators of Fraud

        13.     On or about August 10, 2020, the Department of the Treasury’s Financial Crimes

 Enforcement Network (“FinCEN”), in partnership with the SBA and federal law enforcement,


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 issued an alert, “Detection and Mitigation of Paycheck Protection Program and Economic Injury

 Disaster Loan Fraud,” to all financial institutions, describing the types of SBA loans (PPP &

 EIDL), ineligible uses of the loan, fraud indicators, and guidance for returning funds. The alert

 included several fraud indicators to assist the financial institutions in identifying fraudulent

 transactions, including:

             False statements on applications
             Fraudulent supporting documents (e.g., payroll, tax forms)
             Identity theft
             Corporate ID theft (shell corporations)
             Misuse of proceeds
             New Employer Identification Numbers (EIN)
             Shell corporations/dormant EINs
             Recent business incorporations
             Large loan amounts
             Newly created and/or multiple accounts with abnormal transaction activity
             Consumer accounts instead of business accounts
             Quick movement of money in and out of accounts (often within 1-2 days)
             Withdrawals made via cash or apps (e.g., CashApp, Zelle, GreenDot)
             Abnormal transaction activity to payment platforms known for poor anti-money
              laundering controls
             Transfers to overseas accounts known for poor anti-money laundering controls.

        14.      Many of these fraud indicators have been observed within this investigation such

 as: False statements on applications; Misuse of proceeds; New Employer Identification Numbers;

 Recent business incorporations; Large loan amounts; Newly created and/or multiple accounts with

 abnormal transaction activity; Consumer accounts instead of business accounts; Quick movement

 of money in and out of accounts (often within 1-2 days); and Withdrawals made via cash.

                                      Current Investigation

        Russell Foreman

        15.      Russell Foreman (Foreman) is suspected of fraudulently applying for seven EIDLs

 and obtained funding of two EIDLs totaling $185,500. In addition, Foreman applied for two

 Paycheck Protection Program (PPP) loans under his own name as a self-employed individual and
                                                 6
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 received one for $20,052. On six of the seven EIDL applications and on both PPP applications,

 Foreman listed the e-mail address of russell.foreman@gmail.com.

        16.    Foreman has a lengthy criminal history and is currently on parole with the Colorado

 Department of Corrections.

        17.    SBA records show that Foreman applied for seven EIDLs under the following

 business names: Quantum Boost Technology; Russell Foreman; ECS Consulting LLC; and Grand

 Luxury Marketing. Business names were used multiple times on EIDL applications. As noted

 above, only two of the seven EIDL applications were funded.

        ECS Consulting LLC

        18.    Colorado Secretary of State records show that ECS Consulting LLC (ECS) was

 formed on April 21, 2020 by Russell Ray Foreman. The principal office address of ECS was listed

 as 600 17th Street, Suite 2800 South, Denver, Colorado 80202 which is a virtual office space

 providing mail and call forwarding services on a per month rental basis. The registered agent of

 ECS is listed as Russell Ray Foreman with an address of 1555 South Havana Street, Unit F #210,

 Aurora, CO 80012 which is a UPS Store.

        19.    SBA records show that an EIDL application in the name of ECS was submitted to

 SBA on June 18, 2020 listing the owner as Russell Foreman with an e-mail address of

 russell.foreman@gmail.com. ECS’s address was listed as 600 17th Street, Suite 2800 South,

 Denver, Colorado 80202 and Foreman’s address was listed as 1555 South Havana Street, Unit F

 #210, Aurora, CO 80012. The application stated that ECS was established on February 5, 2019,

 had annual Gross Revenues of $936,000 and Cost of Goods Sold of $845,000, and had 16

 employees. Based on the formula discussed above in paragraph #10, the eligible EIDL amount

 would be $45,500 ($936,000 - $846,000 = $91,000 divided by 2 = $45,500).



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        20.     On June 23, 2020, based on the applicant information, SBA funded ECS with a

 $10,000 EIDL Cash Advance Grant.

        21.     On June 26, 2020, based on the applicant information, SBA funded ECS with an

 EIDL of $35,500.

        Grand Luxury Marketing

        22.     Colorado Secretary of State records show that Grand Luxury Marketing (Grand)

 was formed on June 25, 2020 by Russell Ray Foreman. The principal office address of Grand was

 listed as 600 17th Street, Suite 2800 South, Denver, Colorado 80202 which is a virtual office space

 providing mail and call forwarding services on a per month rental basis. The registered agent of

 Grand is listed as Russell Ray Foreman with the same virtual office address.

        23.     SBA records indicate that two EIDL applications were submitted for Grand listing

 the owner as Russell Foreman with an e-mail address of russell.foreman@gmail.com.

        24.     On June 26, 2020, SBA records show that an EIDL application in the name of

 Grand was submitted to SBA listing the owner as Russell Foreman. Grand’s address was listed as

 600 17th Street, Suite 2800 South, Denver, Colorado 80202 and Foreman’s address was listed as

 1555 South Havana Street, Unit F #210, Aurora, CO 80012. The application stated that Grand

 was established on February 22, 2019, had annual Gross Revenues of $596,000 and Cost of Goods

 Sold of $137,000, and had 13 employees. Based on the formula discussed above in paragraph #10,

 the eligible EIDL amount would be the maximum $150,000 ($596,000 - $137,000 = $459,000

 divided by 2 = $229,500).

        25.     On August 28, 2020, based on the applicant information, SBA funded Grand with

 an EIDL of $150,000.




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        26.    On June 28, 2020, SBA records show that an EIDL application in the name of

 Grand was submitted to SBA listing the owner as Russell Foreman. Grand’s address was listed as

 600 17th Street, Suite 2800 South, Denver, Colorado 80202 and Foreman’s address was listed as

 1555 South Havana Street, Unit F #210, Aurora, CO 80012. The application stated that Grand

 was established on February 22, 2019, had annual Gross Revenues of $596,000 and Cost of Goods

 Sold of $137,000, and had 13 employees. The application was not funded by SBA.

        Quantum Boost Technology

        27.    Colorado Secretary of State records show that Quantum Boost Technology

 (Quantum) was formed on June 26, 2020 by Russell Ray Foreman. The principal office address

 of Quantum was listed as 600 17th Street, Suite 2800 South, Denver, Colorado 80202 which is a

 virtual office space providing mail and call forwarding services on a per month rental basis. The

 registered agent of Quantum is listed as Russell Ray Foreman with an address of 1555 South

 Havana Street, Unit F #210, Aurora, CO 80012 which is a UPS Store.

        28.    SBA records indicate that two EIDL applications were submitted for Quantum

 listing the owner as Russell Foreman with an e-mail address of russell.foreman@gmail.com;

 neither EIDL application was funded by SBA.

        29.    On June 26, 2020, SBA records show that an EIDL application in the name of

 Quantum was submitted to SBA listing the owner as Russell Foreman. Quantum’s address was

 listed as 600 17th Street, Suite 2800 South, Denver, Colorado 80202 and Foreman’s address was

 listed as 1555 South Havana Street, Unit F #210, Aurora, CO 80012. The application stated that

 Quantum was established on March 1, 2019, had annual Gross Revenues of $588,000 and Cost of

 Goods Sold of $173,000, and had 12 employees. On August 20, 2020, the EIDL application was

 declined by SBA.



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        30.     On June 28, 2020, SBA records show that an EIDL application in the name of

 Quantum was submitted to SBA listing the owner as Russell Foreman. The addresses provided

 for Quantum and Foreman were the same as those listed on the June 26, 2020 application. The

 application stated that Quantum was established on March 1, 2019, had annual Gross Revenues of

 $588,000 and Cost of Goods Sold of $173,000, and had 12 employees. The application was not

 funded by SBA.

        Mile High Cleaning Service

        31.     Colorado Secretary of State records show that Mile High Cleaning Service (Mile

 High) was formed on April 17, 2010 by Russell Foreman and that Mile High has been in

 Delinquent status with the Colorado Secretary of State since October 1, 2011. The principal office

 address of Mile High was listed as 5303 Evans Ave, Denver, Colorado 80222. The registered

 agent of Mile High is listed as Russell Foreman with an address of 1450 Elmira Street, Aurora,

 Colorado 80010.

        32.     On August 31, 2020, SBA records show that an EIDL application in the name of

 Russell Foreman with a business trade name of Mile High was submitted. Mile High’s address

 was listed as 5303 Evans Ave, Denver, Colorado 80222 and Foreman’s address was listed as 1555

 South Havana Street, Unit F #210, Aurora, CO 80012. The application stated that Mile High was

 established on April 20, 2010, had annual Gross Revenues of $200,000 and Cost of Goods Sold of

 $120,000, and had 2 employees. Based on the formula discussed above in paragraph #10, the

 eligible EIDL amount would be $40,000 ($200,000 - $120,000 = $80,000 divided by 2 = $40,000).

 The application was not funded by SBA.

        Russell Foreman (business)




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        33.       On March 30, 2020, SBA records show that an EIDL application with the business

 name of Russell Foreman was submitted listing the owner as Russell Foreman with an e-mail

 address of russell.foreman@gmail.com. The Russell Foreman business address and Foreman’s

 address were listed as 1555 South Havana Street, Unit F #210, Aurora, CO 80012. The application

 stated that the Russell Foreman business was established on September 10, 2019, had annual Gross

 Revenues of $1,500 and Cost of Goods Sold of $0, and had 1 employee. Based on the formula

 discussed above in paragraph #10, the eligible EIDL amount would be $750 ($1,500 - $0 = $1,500

 divided by 2 = $750).

        34.       On April 15, 2020, based on the applicant information, SBA funded Russell

 Foreman with a $1,000 EIDL Cash Advance Grant.

        35.       On April 17, 2020, the EIDL application was declined by SBA.

        Melissa Irish

        36.       Melissa Irish (Irish) was the recipient of the $80,000 check drawn from the Grand

 Luxury Marketing LLC bank account on September 1, 2020. Records show that Irish and Foreman

 have shared addresses recently, so it is suspected the two either live together or are close

 acquaintances.

        37.       SBA records, described in paragraphs #41 thru 49, show that Irish applied for five

 EIDLs under the following business names: Mellissa [sic] Irish; and Irish Prosperity LLC. All

 applications were submitted from IP Addresses that were confirmed to be subscribed to Russell

 Foreman. Business names were used multiple times on EIDL applications. None of the EIDL

 applications were funded.

        38.       SBA records show that Irish applied for one PPP loan under her own name as a

 self-employed individual. The PPP loan was not funded.



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        Mellissa Irish (business)

        39.     Colorado Secretary of State records show that a business named Mellissa Irish was

 formed on June 25, 2020 by Mellissa Mae Irish. The principal office address of the Mellissa Irish

 business was listed as 8405 East Hampden Avenue, 24E, Denver, Colorado 80231. The registered

 agent of Mellissa Irish is listed as Mellissa Mae Irish with the same address of the business.

        40.     SBA records, described in paragraphs #41 thru 46, indicate that four EIDL

 applications were submitted for the Mellissa Irish business; none were not funded by SBA.

        41.     On June 18, 2020, SBA records show that an EIDL application in the business name

 of Mellissa Irish was submitted. The Mellissa Irish business address and Irish’s address were listed

 as 7525 East Harvard Avenue, Apt. 201, Denver, Colorado 80231; an apartment address that

 Foreman used on a FirstBank account in June 2020. The application stated that Mellissa Irish was

 established on January 25, 2019, had annual Gross Revenues of $812,000 and Cost of Goods Sold

 of $726,000, and had 14 employees. Based on the formula discussed above in paragraph #10, the

 eligible EIDL amount would be $43,000 ($812,000 - $726,000 = $86,000 divided by 2 = $43,000).

        42.     On June 23, 2020, the EIDL application was declined by SBA.

        43.     On June 20, 2020, SBA records show that an EIDL application in the business name

 of Mellissa Irish was submitted. The Mellissa Irish business address and Irish’s address were listed

 as 7525 East Harvard Avenue, Apt. 201, Denver, Colorado 80231; an apartment address that

 Foreman used on a FirstBank account in June 2020. The application stated that Mellissa Irish was

 established on January 25, 2019, had annual Gross Revenues of $812,000 and Cost of Goods Sold

 of $726,000, and had 14 employees. Based on the formula discussed above in paragraph #10, the

 eligible EIDL amount would be $43,000 ($812,000 - $726,000 = $86,000 divided by 2 = $43,000).

 The application was not funded by SBA.



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        44.     On June 25, 2020, SBA records show that an EIDL application in the business name

 of Mellissa Irish was submitted. The Mellissa Irish business address and Irish’s address were listed

 as 8405 East Hampden Avenue, 24E, Denver, Colorado 80231; the address used on the Colorado

 Secretary of State filings. The application stated that Mellissa Irish was established on March 14,

 2019, had annual Gross Revenues of $596,000 and Cost of Goods Sold of $112,000, and had 13

 employees. Based on the formula discussed above in paragraph #10, the eligible EIDL amount

 would be the maximum $150,000 ($596,000 - $112,000 = $484,000 divided by 2 = $242,000).

        45.     On June 27, 2020, the EIDL application was declined by SBA.

        46.     On July 2, 2020, SBA records show that an EIDL application in the business name

 of Mellissa Irish was submitted. The Mellissa Irish business address and Irish’s address were listed

 as 8405 East Hampden Avenue, 24E, Denver, Colorado 80231; the address used on the Colorado

 Secretary of State filings. The application stated that Mellissa Irish was established on March 14,

 2019, had annual Gross Revenues of $596,000 and Cost of Goods Sold of $112,000, and had 13

 employees. Based on the formula discussed above in paragraph #10, the eligible EIDL amount

 would be the maximum $150,000 ($596,000 - $112,000 = $484,000 divided by 2 = $242,000).

 The application was not funded by SBA.

        Irish Prosperity LLC

        47.     Colorado Secretary of State records show that Irish Prosperity LLC (Irish

 Prosperity) was formed on July 1, 2020 by Mellissa Irish. The principal office address of Irish

 Prosperity was listed as 8405 East Hampden Avenue, 24E, Denver, Colorado 80231. The

 registered agent of Irish Prosperity is listed as Mellissa Irish with the same address of the business.

        48.     On July 2, 2020, SBA records show that an EIDL application in the business name

 of Irish Prosperity was submitted. The Irish Prosperity business address and Irish’s address were



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 listed as 8405 East Hampden Avenue, 24E, Denver, Colorado 80231. The application stated that

 Irish Prosperity was established on March 14, 2019, had annual Gross Revenues of $648,000 and

 Cost of Goods Sold of $175,000, and had 12 employees. Based on the formula discussed above

 in paragraph #10, the eligible EIDL amount would be the maximum $150,000 ($648,000 -

 $175,000 = $473,000 divided by 2 = $236,500).

        49.    On July 2, 2020, the EIDL application was declined by SBA.

        Chandler Simbeck

        50.    Chandler Simbeck (Simbeck) is suspected of fraudulently applying for three EIDLs

 and obtained funding of one EIDL totaling $150,000. Simbeck used the e-mail address of

 chandler.simbeck@gmail.com on all three applications. In addition, Simbeck applied for three

 Paycheck Protection Program (PPP) loans but was not approved.

        51.    SBA records show that Simbeck applied for three EIDLs under the following

 business names: Fusion Group and Chandler Simbeck. Business names were used multiple times

 on EIDL applications. As noted above, only one of the EIDL applications were funded.

        52.    Based on information obtained from bank records and loan applications, Simbeck

 resides at 168 Gringo Independence Road, Aliquippa, PA 15001.

        Fusion Group

        53.    Colorado Secretary of State records show that Fusion Group (Fusion) was formed

 on June 25, 2020 by Chandler Evan Simbeck. The principal office address of Fusion was listed as

 1555 South Havana Street, Unit F #210, Aurora, CO 80012 which is the same UPS Store address

 used by Russell Foreman (see paragraphs #18, 19, 24, 26, 27, 29, 32, 33).

        54.    On June 26, 2020, SBA records show that an EIDL application in the name of

 Fusion was submitted to SBA listing the owner as Chandler Simbeck. The application was



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 submitted from an IP Address that was confirmed to be subscribed to Etola Leipply at 168 Gringo

 Independence Road, Aliquippa, PA 15001, the same address as Simbeck (see paragraph #52).

 Fusion’s address was listed as 1555 South Havana Street, Unit F #210, Aurora, CO 80012. The

 application stated that Fusion was established on February 25, 2019, had annual Gross Revenues

 of $612,000 and Cost of Goods Sold of $161,000, and had 12 employees. Based on the formula

 discussed above in paragraph #10, the eligible EIDL amount would be the maximum $150,000

 ($612,000 - $161,000 = $451,000 divided by 2 = $225,500).

        55.     On August 27, 2020, based on the applicant information, SBA funded Fusion with

 an EIDL of $150,000.

        56.     Between August 31 and September 1, 2020, following the deposit of the funds into

 the Fusion bank account, Simbeck subsequently withdrew $148,000 from the account via four

 checks: 1) $8,000 check that was cashed; 2) $30,000 check to Vegviris Consults LLC; 3) $50,000

 check to Etola Leipply, the subscriber to the IP Address used to submit the EIDL application and

 who is believed to be a relative of Simbeck; and 4) $60,000 check to Vegisir Consults LLC.

        Vegisir Consults LLC and Vegvisir Consults LLC

        57.     In addition to Fusion Group, Colorado Secretary of State records show that

 Simbeck formed two additional entities: 1) Vegisir Consults LLC and 2) Vegvisir Consults LLC

 on August 28, 2020. Simbeck is listed as the registered agent for both entities with an address of

 600 17th Street, Suite 2800 South, Denver, Colorado 80202 which is the same virtual office space

 address used by Russell Foreman’s entities (see paragraphs #18, 19, 22, 24, 27, 29).

        Vegisir Consults LLC transfers money to Foreman

        58.     On October 6, 2020, one of Foreman’s personal bank accounts received a $55,000

 wire transfer from Vegisir Consults LLC (see paragraph #72). The address listed on the wire



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 details for Vegisir Consults LLC was 168 Gringo Independence Road, Aliquippa, PA 15001, the

 same address as Chandler Simbeck and Etola Leipply.

        Other EIDL Applications Related to Foreman

        59.     SBA records indicate that in June 2020, three EIDL applications were submitted

 for a business named Fontain Robinson; two of the applications were submitted under the Social

 Security Number of an individual named Fontain Robinson and the other application was

 submitted under an Employer Identification Number for a business named Fontain Robinson.

 All three of the applications were submitted from IP Addresses that were confirmed to be

 subscribed to Russell Foreman. Two of the applications listed the business e-mail address of

 russell.foreman@gmail.com. None of the applications were funded by SBA.

        60.     Additionally, SBA records and IP Subscriber information shows that 24 EIDL

 applications were submitted from an IP Address subscribed to Foreman; 11 of which have not

 previously been mentioned in this affidavit.

                                        Financial Analysis

        61.     Review of Foreman’s bank account records from January 1, 2019 thru mid-

 November 2020 revealed the following regarding the disposition of the EIDL and PPP loan

 funds obtained by Foreman.

        Grand Luxury Marketing – FirstBank Account

        62.     On June 26, 2020, Foreman opened a checking account at FirstBank in the name of

 Grand Luxury Marketing. There was minimal activity within the account until it received a deposit

 of $149,900 from SBA on August 31, 2020 which represented the EIDL proceeds (less a $100

 processing fee) related to the EIDL application in the name of Grand Luxury Marketing detailed

 in paragraph #24. Prior to August 31, 2020, there were seven transactions (counting deposits and

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 withdrawals) totaling $399.05 conducted on the account since its opening and the account balance

 was $0.05. The next day, on September 1, 2020, Foreman withdrew $140,000 via two checks: 1)

 $80,000 payable to Mellissa [sic] Irish, and 2) $60,000 payable to Russell Foreman. A majority

 of the remaining funds in the account were spent at online sports betting and gambling websites

 ($3,500) and a clothing store ($2,999.76). As of October 26, 2020, the account balance was

 $685.54 and there had been no transactions conducted since September 8, 2020.

        ECS Consulting LLC – Bank of the West Account

        63.    On June 2, 2020, Foreman opened a checking account at Bank of the West in the

 name of ECS Consulting LLC. There was no activity within the account until it received a deposit

 of $10,000 from SBA on June 23, 2020 which represented the EIDL Cash Advance Grant related

 to the EIDL application in the name of ECS Consulting LLC detailed in paragraph #19. That same

 day, on June 23, 2020, two cash withdrawals totaling $7,000 were conducted by Foreman.

        64.    On June 26, 2020, the account received a deposit of $35,400 from SBA which

 represented the EIDL proceeds (less a $100 processing fee) related to the EIDL application in the

 name of ECS Consulting LLC detailed in paragraph #19.

        65.    After this deposit, from June 29, 2020 thru September 4, 2020, Foreman withdrew

 $34,010 in cash and wired $10,000 to a personal bank account in his name at Navy Federal Credit

 Union. There were no other transactions within the account other than a purchase and refund in

 the same amount with Dell Small Business. As of October 30, 2020, the account balance was

 $1,525.

        Russell Foreman – Navy Federal Credit Union Account

        66.    On June 10, 2019, Russell Foreman opened a checking and savings account at Navy

 Federal Credit Union. From June 2019 thru March 2020, there was minimal activity within the


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 accounts; the checking account had $2,266.23 in deposits and at times had a negative balance, and

 the savings account had $10 in deposits.

        67.    On April 16, 2020, the checking account received a deposit of $1,000 from SBA

 which represented the EIDL Cash Advance Grant related to the EIDL application detailed in

 paragraph #33 in the name of Russell Foreman that was ultimately not funded by SBA.

        68.    On May 26, 2020, the checking account received a deposit of $20,052 from

 Kabbage, a PPP lender. These funds represented the PPP loan proceeds from one of the two PPP

 loans that Foreman applied.

        69.    On July 20, 2020, the checking account received a $10,000 wire transfer from the

 ECS Consulting LLC account held by Foreman at Bank of the West (see paragraph #65).

        70.    On September 1, 2020, the $60,000 check from the Grand Luxury Marketing

 FirstBank account (see paragraph #62) was deposited to Foreman’s savings account.

 Subsequently, from September 2 thru November 10, 2020, Foreman transferred $54,945 into his

 checking account at Navy Federal Credit Union.

        71.    From September 15 thru September 24, 2020, the checking account received

 $71,000 in deposits transferred from a Navy Federal Credit Union account held in the name of

 Melissa Irish. The source of the funds from Irish’s account was the $80,000 check from the Grand

 Luxury Marketing FirstBank account (see paragraph #62).

        72.    On October 6, 2020, the Foreman’s checking account received a $55,000 wire

 deposit from Vegisir Consults LLC, one of the business entities that Chandler Simbeck transferred

 a portion of EIDL funds that he received which is detailed in paragraphs #54 thru #57.




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        73.     From April 1, 2020 thru November 10, 2020, Foreman’s checking account received

 $35,484 in deposits from the Colorado Department of Labor and Employment, that appear related

 to unemployment insurance.

        74.     Debits to Foreman’s checking account from April 1, 2020 thru November 10, 2020

 consisted of: $41,626 in cash withdrawals; $12,816 in withdrawals at Monarch Casino Blackhawk;

 $10,295 in withdrawals at Isle Casino Blackhawk; $11,375 in transfers to FanDuel, an online

 sports betting and gambling website; $4,375 in transfers to BetFairCasino, an online gambling site;

 $10,000 deposit to TD Ameritrade, an investment company; and $10,000 deposit to TradeStation,

 an investment company.

        75.     As of November 10, 2020, Foreman’s checking account balance was $17,477.05

 and his savings account balance was $5,053.82.



                                      Use of E-Mail Account

        76.     A Court Order (“the Order”) pursuant to 18 U.S.C. § 2703(d) was submitted to

 Google on November 18, 2020. Pursuant to the Order, Google provided the subscriber

 information and e-mail header data (i.e. the Date/Time, Sender, To, CC, and BCC) of the e-mails

 stored in the account of russell.foreman@gmail.com; no e-mail content was provided. The

 subscriber information for the account of russell.foreman@gmail.com lists that the account was

 created on November 21, 2009, and the name on the account is “Russell Foreman” with a

 telephone number of (720) 205-9934 which records show to be Foreman’s cell phone.

        77.     Analysis of the e-mail header information from March 1, 2020 through November

 17, 2020 showed that the russell.foreman@gmail.com e-mail account communicated with the

 following e-mail accounts associated to the alleged scheme:



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         78.   8 e-mails were sent from russell.foreman@gmail.com TO individuals at Credibly,

 a company that partnered with lenders to provide PPP loans;

         79.   15 e-mails were sent from russell.foreman@gmail.com TO individuals at

 YourOfficeDenver.com which is a virtual office space located at 600 17th Street, Suite 2800

 South, Denver, Colorado 80202 and is the business address used for many of Foreman’s business

 entities;

         80.   2 e-mails were sent from russell.foreman@gmail.com TO

 chandler.simbeck@gmail.com and 55 e-mails were sent to russell.foreman@gmail.com FROM

 chandler.simbeck@gmail.com. The e-mail address, chandler.simbeck@gmail.com, is associated

 to Chandler Simbeck and was used on three EIDL applications, one of which funded for

 $150,000;

         81.   2 e-mails were sent from russell.foreman@gmail.com TO eleipply5@gmail.com

 and 3 e-mails were sent to russell.foreman@gmail.com FROM eleipply5@gmail.com. The e-

 mail address, eleipply5@gmail.com, is associated to Etola Leipply (Leipply) who shares the

 same address as Chandler Simbeck in Aliquippa, Pennsylvania. Leipply is believed to be a

 relative of Simbeck and received a $50,000 check from Simbeck that was funded with EIDL

 proceeds obtained by a Simbeck entity detailed in paragraph #57;

         82.   16 e-mails were sent to russell.foreman@gmail.com FROM

 chandlerleipply@gmail.com, an e-mail address believed to be associated to Chandler Simbeck

 since Simbeck’s full name is Chandler Evan Leipply Simbeck;

         83.   1 e-mail was sent from russell.foreman@gmail.com TO

 info@grandluxurymarketing.com. Grand Luxury Marketing is the Foreman business entity that

 received a $150,000 EIDL detailed in paragraph #24;



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        84.     4 e-mails were sent from russell.foreman@gmail.com TO

 Matthew.Norkett@sba.gov and 4 e-mails were sent to russell.foreman@gmail.com FROM

 Matthew.Norkett@sba.gov. Matthew Norkett is the SBA employee who approved the $150,000

 EIDL to Grand Luxury Marketing;

        85.     1 e-mail was sent from russell.foreman@gmail.com TO PPP@kabbage.com.

 Kabbage is a lender of PPP loans. Additionally, 16 e-mails were sent to

 russell.foreman@gmail.com FROM e-mail addresses of Kabbage;

        86.     8 e-mails were sent to russell.foreman@gmail.com FROM

 michaelsrbordeaux@gmail.com, an e-mail associated to Michael Bordeaux who shares the PO

 Box address with Foreman. The e-mail address, michaelsrbordeaux@gmail.com, was used on

 five EIDL applications, none of which funded. Three of the EIDL applications were submitted

 from IP Addresses subscribed to Russell Foreman;

        87.     1 e-mail was sent to russell.foreman@gmail.com FROM phillisherb@gmail.com,

 an e-mail address associated to Phillisher Bordeaux, a relative of Michael Bordeaux. The e-mail

 address, phillisherb@gmail.com, was used on one EIDL application that did not fund;

        88.     1 e-mail was sent to russell.foreman@gmail.com FROM

 topdawg1436@gmail.com, an e-mail address used by Mellissa [sic] Irish on a debit card account;

        89.     59 e-mails were sent to russell.foreman@gmail.com FROM various SBA e-mail

 addresses such as disastercustomerservice@sba.gov (9); news@updates.sba.gov (42); and

 region_8@updates.sba.gov (8).

        90.     The above usage of Foreman’s e-mail account to communicate with others

 associated to this investigation gives probable cause to believe that Foreman’s e-mail account,




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 described on Attachment A, has been used in the alleged fraud, and that evidence thereof will be

 found through this warrant.

        Information sought is likely to still be present on PROVIDER’S servers


        91.     In general, an e-mail that is sent to a Google subscriber is stored in the

 subscriber’s “mailbox” on Google servers until the subscriber deletes the e-mail. If the

 subscriber does not delete the message, the message can remain on Google servers indefinitely.

 Even if the subscriber deletes the e-mail, it may continue to be available on Google’s servers for

 a certain period of time.

        92.     On November 3, 2020, a preservation request was submitted to Google to

 preserve the contents of the subscriber’s “mailbox” for 90 days. On February 1, 2021, an

 additional preservation request was submitted to Google to extend the preservation of the

 subscriber’s “mailbox” for an additional 90 days.

                             BACKGROUND CONCERNING GOOGLE


        93.     In my training and experience, I have learned that Google provides a variety of on-

 line services, including electronic mail (“e-mail”) access, to the public. Google allows subscribers

 to obtain e-mail accounts at the domain name gmail.com, like the e-mail account listed in

 Attachment A. Subscribers obtain an account with this PROVIDER by registering with them.

 During the registration process, the PROVIDER asks subscribers to provide basic personal

 information.    Therefore, the computers of Google are likely to contain stored electronic

 communications (including retrieved and unretrieved e-mail for subscribers) and information

 concerning subscribers and their use of the PROVIDER’s services, such as account access

 information, e-mail transaction information, and account application information.



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        94.     In my training and experience, such information may constitute evidence of the

 crimes under investigation because the information can be used to identify the account’s user or

 users. A subscriber of the PROVIDER can also store with the PROVIDER files in addition to e-

 mails, such as address books, contact or buddy lists, calendar data, pictures (other than ones

 attached to e-mails), and other files, on servers maintained and/or owned by the PROVIDER. In

 my training and experience, evidence of who was using an e-mail account may be found in

 address books, contact or buddy lists, e-mail in the account, and attachments to e-mails,

 including pictures and files.

        95.     In my training and experience, service providers, like the one discussed in this

 affidavit, typically retain certain transactional information about the creation and use of each

 account on their systems. This information can include the date on which the account was

 created, the length of service, records of log-in (i.e., session) times and durations, the types of

 service utilized, the status of the account (including whether the account is inactive or closed),

 the methods used to connect to the account (such as logging into the account via the

 PROVIDER’s website), devices used to access the account, cookies installed on devices used to

 access the account, and other log files that reflect usage of the account. In addition, providers

 often have records of the Internet Protocol address (“IP address”) used to register the account

 and the IP addresses associated with particular logins to the account. Because every device that

 connects to the Internet must use an IP address, IP address information can help to identify

 which computers or other devices were used to access the account.

        96.     In my training and experience, service providers generally ask their subscribers to

 provide certain personal identifying information when registering for an account. Such

 information can include the subscriber’s full name, physical address, telephone numbers and



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 other identifiers, e-mail addresses, and, for paying subscribers, means and source of payment

 (including any credit or bank account number). In my training and experience, such information

 may constitute evidence of the crimes under investigation because the information can be used to

 identify the account’s user or users.

          97.     In my training and experience, in some cases, users will communicate directly

 with a service provider about issues relating to the account, such as technical problems, billing

 inquiries, or complaints from other users. Providers typically retain records about such

 communications, including records of contacts between the user and the PROVIDER’s support

 services, as well records of any actions taken by the PROVIDER or user as a result of the

 communications. In my training and experience, such information may constitute evidence of the

 crimes under investigation because the information can be used to identify the account’s user or

 users.

          98.     Therefore, Google’s computers are likely to contain stored electronic

 communications (including retrieved and unretrieved e-mail, voicemail, text messages, and

 information concerning subscribers and their use of the PROVIDER’s services), account access

 information, e-mail, phone call, and text message transaction information and toll records,

 account application information, and other relevant information. In my training and experience,

 such information may constitute evidence of the crimes under investigation because the

 information may evidence the account user’s activities or can be used to identify the account’s

 user or users.

          99.     As explained herein, information stored in connection with use of Google’s online

 services may provide crucial evidence of the “who, what, why, when, where, and how” of the

 criminal conduct under investigation, thus enabling the United States to establish and prove each



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 element, or alternatively, to exclude the innocent from further suspicion. In my training and

 experience, the information stored in connection with an e-mail account can indicate who has

 used or controlled the account. This “user attribution” evidence is analogous to the search for

 “indicia of occupancy” while executing a search warrant at a residence. For example, e-mail

 communications, contacts lists, and images sent (and the data associated with the foregoing, such

 as date and time) may indicate who used or controlled the account at a relevant time. Further,

 information maintained by the PROVIDER can show how and when the account was accessed or

 used. For example, as described below, e-mail providers typically log the Internet Protocol (IP)

 addresses from which users access the e-mail account along with the time and date. In some

 instances, PROVIDER may also track the physical location reported by a device used to access

 the account. By determining the physical location associated with the logged IP addresses,

 investigators can understand the chronological and geographic context of the e-mail account

 access and use relating to the crime under investigation. This geographic and timeline

 information may tend to either inculpate or exculpate the account owner. Additionally,

 information stored at the user’s account may further indicate the geographic location of the

 account user at a particular time (e.g., location information integrated into an image or video sent

 via e-mail). Providers may also store information about or from physical devices used to access

 or associated with the account, which may also help investigations identify the person or persons

 using the account. Last, stored electronic data may provide relevant insight into the account

 owner’s state of mind as it relates to the offense under investigation. For example, information in

 the e-mail account may indicate the owner’s motive and intent to commit a crime (e.g.,

 communications relating to the crime), or consciousness of guilt (e.g., deleting communications

 in an effort to conceal them from law enforcement).



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        100.    Based on my training and experience, I know that PROVIDER maintains records

 that can link different accounts to one another, by virtue of common identifiers, such as common

 e-mail addresses, common telephone numbers, common device identifiers, common computer

 cookies, and common names or addresses, that can show a single person, or single group of

 persons, used multiple PROVIDER accounts. Based on my training and experience, I also know

 that evidence concerning the identity of such linked accounts can be useful evidence in

 identifying the person or persons who have used a particular PROVIDER account.

                                         CONCLUSION

        101.    Based on the forgoing, I submit there is probable cause to believe that Russell

 Foreman, Melissa Irish, and Chandler Simbeck have committed the Subject Offenses, in

 violation of: Title 18 U.S.C. § 287 (False Claims); 18 U.S.C. § 371 (Conspiracy); Title 18 U.S.C.

 § 1031 (Major Fraud Against the United States); Title 18 U.S.C. § 1040 (Fraud in Connection

 with Emergency); Title 18 U.S.C. § 1343 (Wire Fraud); ; Title 18 U.S.C. § 1349 (Conspiracy to

 Commit Wire Fraud); Title 18 U.S.C. § 1956(h) (Conspiracy to Commit Money Laundering);

 and Title 18 U.S.C. § 1957 (Money Laundering Spending Statute). Probable cause exists that

 evidence, fruits, and instrumentalities of the Subject Offenses, as described in Attachment B will

 be located in the Subject Accounts, identified in Attachment A. Accordingly, I respectfully

 request that the Court issue the proposed search warrant.

        102.    Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not

 required for the service or execution of this warrant. The government will execute this warrant

 by serving the warrant on Google LLC. Because the warrant will be served on Google LLC,

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 who will then compile the requested records at a time convenient to it, reasonable cause exists to

 permit the execution of the requested warrant at any time in the day or night.



                                                   Respectfully submitted,

                                                   s/ Jared Erwin
                                                   Jared Erwin
                                                   Special Agent
                                                   IRS Criminal Investigation



                                                   16th day of February, 2021.
        Subscribed and sworn to before me on this ______




        ________________________________________
        HON. N. REID NEUREITER
        UNITED STATES MAGISTRATE JUDGE



 Application for search warrant was reviewed and is submitted by Robert Brown, Assistant
 United States Attorney.




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